Case:20-01090-JGR Doc#:1 Filed:03/24/20                   Entered:03/24/20 17:54:51 Page1 of 8




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

In re:
                                                     Case No. 19-20861 JGR
ETHAN WILLIAM TOMPKINS,
XXX-XX-5827                                          Chapter 7

         Debtors.

HAJOCA CORPORATION d/b/a Dahl
DENVER, a Maine corporation

         Plaintiff                                   Adv. Pro. No. 20-

v.

ETHAN W. TOMPKINS, an individual

         Defendants.

              COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

         Plaintiff, Hajoca Corporation d/b/a Dahl Denver (“Hajoca”), by and through its attorneys,

Jackson Kelly PLLC, sets forth the following Complaint against Ethan W. Tompkins

(“Tompkins”):

                              PARTIES, JURISDICTION, AND VENUE

         1.         Hajoca is a Maine corporation with its principal place of business located at 2001

Joshua Road, Lafayette, Pennsylvania, 19444. Hajoca is authorized to do business in the State of

Colorado.

         2.         Tompkins is an individual who, upon information and belief, resides at 7250 W.

Vassar Ave., Lakewood, CO 80227. This Court has jurisdiction over the parties and the subject

matter of this proceeding pursuant to 28 U.S.C. §1334(b) and 28 U.S.C. §157(b)(2).



4834-5606-7000.v1
Case:20-01090-JGR Doc#:1 Filed:03/24/20                    Entered:03/24/20 17:54:51 Page2 of 8




        3.          This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A) (I) & (O).

Pursuant to Fed. R. Bankr. P. 7008 and Hajoca consents to entry of final orders or judgment by

the Bankruptcy Court.

        4.          Venue of this action is proper in this District pursuant to 28 U.S.C. §1409(a).

                                      GENERAL ALLEGATIONS

        5.          On January 15, 2008, Tompkins and Spectrum Plumbing, Inc. (“Spectrum”),

entered into an Application for Commercial Credit (“Agreement”) with Hajoca. A copy of the

Agreement is attached hereto as Exhibit A and is incorporated herein by reference.

        6.          Tompkins executed a Personal Guarantee as part of the Agreement in which he

personally guaranteed payment to Hajoca for any debt incurred by Spectrum (the “Guarantee”).

See Exhibit A.

        7.          Spectrum purchased certain plumbing supplies and materials from Hajoca, which

supplies and materials were delivered to the Tompkins and Spectrum and incorporated into

various construction projects.

        8.          Pursuant to the terms of the Agreement, if Hajoca delivered items on credit at the

request of Defendants, Spectrum and Tompkins agreed to pay for said items by the 25th of the

month following the month in which the material was delivered.

        9.          Spectrum and Tompkins further agreed to pay a service charge of 1% per month

plus interest on all sums not paid within thirty (30) days from the invoice date.

        10.         In addition, Spectrum and Tompkins agreed to pay reasonable attorney’s or

collection fees and court costs if Hajoca commences litigation or employs attorneys in order to

secure payment.


                                                     2
4834-5606-7000.v1
Case:20-01090-JGR Doc#:1 Filed:03/24/20                  Entered:03/24/20 17:54:51 Page3 of 8




        11.         Despite demand, Spectrum and Tompkins failed to make payment in full for the

plumbing materials.

        12.         Upon information and belief, Spectrum received full payment from general

contractors and owners of the real properties where the plumbing materials were used.

        13.         At all relevant times hereto, Tompkins was the sole owner of Spectrum and, as a

natural person in control of the finances and financial decisions of Spectrum, was in a position to

authorize, and did authorize the use of funds to be held in trust for Hajoca for general obligations

of Spectrum or for other purposes.

State Court Proceedings

        14.         On April 26, 2019, Hajoca filed in state court styled Hajoca Corporation d/b/a

Dahl Denver, a Maine corporation v. Spectrum Plumbing, Inc., a Colorado corporation; Ethan

W. Tompkins, an individual, in the District Court for the City and County of Denver, Case No. 19

CV 31615 (the “State Court Action”). Hajoca asserted six claims for relief in the State Court

Action: (1) breach of contract against Spectrum, (2) breach of guarantee against Tompkins, (3)

promissory estoppel against all Defendants, (4) unjust enrichment against Spectrum, (5) violation

of C.R.S. § 38-22-127 against all Defendants; and (6) on account against Spectrum. A copy of

the Complaint is attached hereto as Exhibit B and is incorporated herein by reference.

        15.         On May 21, 2019, for himself and for Spectrum, filed a motion to extend time to

respond to the Complaint. The state court granted the extension on May 22, 2019.

        16.         On June 13, 2019, Tompkins filed his Answer to the Complaint. Spectrum was

not included in Tompkins’ Answer. A copy of Tompkins’ Answer is attached hereto as Exhibit

C and is incorporated herein by reference.


                                                   3
4834-5606-7000.v1
Case:20-01090-JGR Doc#:1 Filed:03/24/20                 Entered:03/24/20 17:54:51 Page4 of 8




        17.         On June 24, 2019, Hajoca filed its Motion for Default Judgment Against

Spectrum Plumbing, Inc. This motion was granted on October 9, 2019.

        18.         On October 17, 2019, Hajoca filed its Motion for Summary Judgment Against

Ethan W. Tompkins, seeking judgment on its second and fourth claims for relief against

Tompkins (the “Summary Judgment Motion”). A copy of the Summary Judgment Motion,

without exhibits, is attached hereto as Exhibit D and is incorporated herein by reference.

        19.         Hajoca sought summary judgement because the following facts are undisputed:

                    a.     On January 15, 2008, Defendants entered into an Application for

        Commercial Credit (“Agreement”) with Hajoca. Complaint, ¶ 6; Answer, ¶ 3.

                    b.     Tompkins executed a Personal Guarantee as part of the Agreement in

        which he personally guaranteed payment to Hajoca for any debt incurred by Spectrum.

        Complaint, ¶ 6; Answer, ¶ 3.

                    c.     Spectrum purchased certain plumbing supplies and materials from Hajoca,

        which supplies and materials were delivered to Defendants and incorporated into various

        construction projects. Complaint, ¶ 6; Answer, ¶ 3.

                    d.     Despite demand, Spectrum and Tompkins failed to make payment in full

        for the plumbing materials. Complaint, ¶ 12; Answer, ¶ 7.

                    e.     Hajoca agreed to sell, and in exchange, Spectrum agreed to pay for,

        certain plumbing materials and Hajoca delivered the plumbing supplies and materials in

        question. Complaint, ¶ 15; Answer, ¶ 10.

                    f.     Spectrum failed to pay for said plumbing materials as agreed. Complaint,

        ¶ 16; Answer, ¶ 10.


                                                   4
4834-5606-7000.v1
Case:20-01090-JGR Doc#:1 Filed:03/24/20                  Entered:03/24/20 17:54:51 Page5 of 8




                    g.     Spectrum has not paid the amount due and owing as of the date of this

        Complaint and therefore, breached the Agreement with Hajoca. Complaint, ¶¶ 18 and

        19; Answer, ¶ 12.

                    h.     Hajoca fully performed its Agreement with Spectrum and met and

        complied with all conditions precedent under the Agreement. Complaint, ¶¶ 20 and 21;

        Answer, ¶ 12.

                    i.     Tompkins failed to make payment of the amounts owed by Spectrum to

        Hajoca under the Agreement. Complaint, ¶ 26; Answer, 15.

                    j.     Tompkins’ refusal to pay amounts due is a breach of his guarantee.

        Complaint, ¶ 27; Answer, 15.

                    k.     Spectrum and Tompkins promised that they would pay Hajoca for the

        plumbing materials supplied by Hajoca. Complaint, ¶ 30; Answer, 18.

                    l.     Hajoca supplied plumbing materials to the projects in reasonable reliance

        on the promises made by Spectrum and Ethan Tompkins. Complaint, ¶ 32; Answer, 20.

                    m.     Spectrum and Ethan Tompkins broke their promises to Hajoca by failing

        to pay for the plumbing materials provided by Hajoca. Complaint, ¶ 33; Answer, 20.

        20.         Tompkins filed bankruptcy before the state court ruled on the Summary Judgment

Motion.

The Construction Projects

        21.         The projects that Spectrum purchased plumbing supplies from Hajoca and for

which Tompkins and Spectrum failed to for were the following:

                    a.     Lennar Flatiron Meadows,


                                                   5
4834-5606-7000.v1
Case:20-01090-JGR Doc#:1 Filed:03/24/20                   Entered:03/24/20 17:54:51 Page6 of 8




                    b.     Lennar Provenance,

                    c.     Meritage Stonegate,

                    d.     LGI Homes Prairie Star,

                    e.     LGI Westview, and

                    f.     LGI Bella Vista.

        22.         On August 6, 2019, in the State Court Action, Meritage Homes of Colorado, Inc.

(“Meritage”), filed a motion to intervene seeking to file a complaint against the Tompkins and

Spectrum. On August 22, 2019, the state court allowed Meritage to intervene.

        23.         On October 17, 2019, Meritage filed a motion for default judgment against

Tompkins and Spectrum. Tompkins filed bankruptcy before the state court ruled on Meritage’s

motion.

        24.         Upon information and belief, Lennar made all payments to Spectrum in the

amount of $194,448.35 that was due to be paid to Hajoca. Neither Spectrum or Tompkins paid

Hajoca from these funds. Lennar paid Hajoca $85,000.00 leaving a balance due of $109,448.35.

        25.         Upon information and belief, Meritage made all payments to Spectrum totaling

$38,826.48 that Spectrum owed Hajoca. Neither Spectrum or Tompkins paid Hajoca from these

funds. Meritage paid Hajoca $29,765.59 leaving a balance due of $9,060.89.

        26.         Upon information and belief, LGI Homes made all payments to Spectrum totaling

$68,322.75 that Spectrum owed Hajoca. Neither Spectrum or Tompkins paid Hajoca from these

funds. LGI paid Hajoca $40,000.00 leaving a balance due of $28,322.75.

                                FIRST CLAIM FOR RELIEF
          (Determination of Dischargeability of Debt Pursuant to 11 U.S.C. §523(a)(4))

        27.         Hajoca incorporates the preceding paragraphs as though fully set forth herein.

                                                     6
4834-5606-7000.v1
Case:20-01090-JGR Doc#:1 Filed:03/24/20                     Entered:03/24/20 17:54:51 Page7 of 8




        28.         C.R.S. § 38-22-127(1) requires Spectrum to hold in trust for the payment of

subcontractors all funds disbursed to Spectrum for construction services and supplies.

        29.         C.R.S. § 38-22-127(5) further provides that a violation of C.R.S. § 38-22-127(1)

constitutes theft under C.R.S. § 18-4-401.

        30.         Upon information and belief, Spectrum received funds from the owners, general

contractors or disbursers on the various projects. However, Spectrum improperly failed to hold

those funds in trust for the payment of Hajoca, a subcontractor.

        31.         Upon information and belief, Tompkins, as a natural person in control of the

finances and financial decisions of Spectrum, was in a position to authorize, and did authorize

the use of funds to be held in trust for Hajoca for general obligations of Spectrum or for other

purposes.

        32.         Tompkins, as an officer and/or primary shareholder of Spectrum, owed fiduciary

duties to Hajoca with respect to those payments he received in trust.

        33.         Tompkins breached his fiduciary duties by unlawfully taking, converting, and

otherwise diverting the payments away from Hajoca.

        34.         Therefore, the debt is non-dischargeable under 11 U.S.C. § 523(a)(4).

        35.         Tompkins is personally liable for the amounts due and owing to Hajoca.

        WHEREFORE, Hajoca requests that this Court enter judgment on its behalf against

Tompkins, (i) on the First Claim for Relief, an order denying Tompkins his discharge pursuant to

11 U.S.C. § 523(a)(4) in an amount to be proven at trial, (ii) for its pre- and post-judgment

interest, plus attorney fees and costs incurred in pursuing this action and enforcing the judgment,

and (iii) for such other relief as this Court deems just.


                                                    7
4834-5606-7000.v1
Case:20-01090-JGR Doc#:1 Filed:03/24/20    Entered:03/24/20 17:54:51 Page8 of 8




        Dated March 24, 2020.

                                          JACKSON KELLY PLLC


                                          s/ Steven T. Mulligan
                                          Steven T. Mulligan, #19901
                                          1099 18th Street, Suite 2150
                                          Denver, Colorado 80202
                                          Telephone: (303) 390-0003
                                          Facsimile: (303) 390-0177
                                          smulligan@jacksonkelly.com
                                          Attorneys for Plaintiff




                                    8
4834-5606-7000.v1
